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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 BRIAN J. HUFFMAN, as Administrator of the
 Estate of Eliud Montoya-Arcos, Deceased,

                Plaintiff,                                CIVIL ACTION NO.: 4:18-CV-184

        v.

 THE DAVEY TREE EXPERT COMPANY;
 WOLF TREE, INC.; MARJORIE L.
 CONNER; CHRISTOPHER BRANCH;
 OSCAR CRUZ; and PABLO RANGEL, a/k/a
 PABLO RANGEL-RUBIO,

                Defendants.


                                          ORDER

       This case arises from the events surrounding the tragic murder of Eliud Montoya-Arcos

(“Montoya”). In this action, Plaintiff, as administrator of Montoya-Arcos’s estate, has sued

Defendants The Davey Tree Expert Company (“Davey Tree”); Wolf Tree, Inc. (“Wolf Tree”);

Marjorie Conner; Christopher Branch; Oscar Cruz; and Pablo Rangel, alleging civil RICO

violations and other torts. (Doc. 123.) Presently before the Court is Conner’s Motion to Dismiss,

(doc. 204), Branch’s Motion to Dismiss, (doc. 207), Cruz’s Motion to Dismiss, (doc. 208), Davey

Tree and Wolf Tree’s Motion to Dismiss, (doc. 209), Defendants’ joint motion for oral argument

on these motions, (doc. 210), and two Motions for partial Summary Judgment on non-RICO claims

by Davey Tree, Wolf Tree, and Conner, (docs. 161, 163). The matters have been fully briefed.

(Docs. 161, 163, 169, 204, 222, 230, 207, 223, 231, 208, 221, 232, 209, 220, 233, 236, 210 & 213.)

       For the reasons below, the Court GRANTS Defendants’ Motions to Dismiss. (Docs. 204,

207, 208 & 209.) Because Plaintiff failed to plausibly allege the proximate causation required for
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RICO standing, Plaintiff’s RICO claims (Counts I, II and III) are DISMISSED with prejudice

against the moving Defendants. 1 (Doc. 123.) Additionally, Plaintiff’s claims for battery (Count

IV), assault (Count V), and intentional infliction of emotional distress (“IIED”) (Counts XIII, XV,

XVII & XIX) are DISMISSED with prejudice as to all moving Defendants. (Id.) With no claims

thereby remaining against Cruz, Cruz is DISMISSED from this case. The negligence claim

against Conner (Count VI) is also DISMISSED with prejudice, because, as alleged, Conner owed

no duty to Montoya. With no claims thereby remaining against Conner, Conner is DISMISSED

from this case and Conner’s Motion for Partial Summary Judgment is DENIED as moot. (Doc.

163.) For all remaining claims, the parties shall confer and submit a joint status report with

proposed deadlines within seven (7) days of this Order. Davey Tree and Wolf Tree’s Motion for

partial Summary Judgment is DENIED without prejudice. (Doc. 161.) Defendants’ joint Motion

for Oral Argument is DENIED as moot. (Doc. 210.)

                                     BACKGROUND

    I.      Factual Background

         The facts below are alleged in Plaintiff’s Amended Complaint. (Doc. 123.)

         Defendant Davey Tree and its wholly owned subsidiary, Defendant Wolf Tree, are in the

business of trimming trees along power lines for utility companies. (Id.) From 2008 through

August 2017, the majority of Davey Tree and Wolf Tree’s employees were undocumented

immigrants who were in the United States unlawfully. (Id. at p. 5.) One of these unlawful

employees was Defendant Pablo Rangel, the supervisor of Davey Tree and Wolf Tree’s operations

in the Savannah, Georgia, area (the “Savannah Call Center”). (Id.) Rangel 2 located and recruited



1
  These claims remain pending, however, against Defendant Rangel.
2
  For the remainder of this Order, “Rangel” refers to Defendant Pablo Rangel. When the Court refers to
Juan Rangel, his first and last name will both be used.


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other undocumented immigrants to work for Davey Tree and Wolf Tree, procuring false

identification documents for the workers and charging them for his services. (Id. at pp. 5–6.) The

Savannah Call Center’s only customer was Georgia Power. (Id. at p. 8.) As required for every

bid and contract with Georgia Power, Davey Tree and Wolf Tree verified the legality of their

workforce, though Davey Tree and Wolf Tree knew their verification was false. (Id. at p. 9.)

Georgia Power would have never entered into these contracts had it known of the illegality of the

work force. (Id. at p. 10.)

       In or around 2013, Rangel solicited Defendant Oscar Cruz to assist in the scheme. (Id. at

p. 7.) At Rangel’s direction, Cruz knowingly executed financial transactions to provide cash

payments to the undocumented workers. (Id.) In exchange for this service, Rangel paid Cruz

using money from Wolf Tree and Davey Tree. (Id.)

       Montoya was a United States citizen who worked as a tree trimmer for Wolf Tree at the

Savannah Call Center. (Id. at p. 11.) As an employee in the Savannah Call Center, Montoya

witnessed this illegal scheme to use undocumented workers. (Id. at pp. 11–12.) In 2016, Montoya

submitted a whistleblower report to Wolf Tree and Davey Tree, detailing the scheme. (Id. at p.

12.) At the time Montoya submitted this report, Davey Tree and Wolf Tree were already aware of

many, if not all, of the information contained within Montoya’s complaints. (Id. at p. 13.)

Montoya stated in the 2016 report that he wished to maintain anonymity. (Id. at p. 12.) Montoya

added that he intended to speak with the Department of Transportation and the Department of

Labor about the criminal conduct that he had witnessed. (Id.) Davey Tree and Wolf Tree

subsequently informed Rangel of the details of Montoya’s 2016 report—and the fact that Montoya

was the whistleblower. (Id. at p. 13.) In their written whistleblower policy, Davey Tree and Wolf

Tree guaranteed to protect whistleblowers against retaliation. (Id. at p. 11.)




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       A year later, in April 2017, Montoya again contacted Davey Tree to report the illegal

conduct both orally and in writing. (Id. at p. 13.) Orally, Montoya again informed Davey Tree

that he intended to speak with the Department of Labor. (Id. at pp. 13–14.) In a written report,

Montoya informed Davey Tree and Wolf Tree that he, in fact, had reported their illegal conduct to

the Department of Labor and that the Department had informed him it would take the case “if the

problem is not solved.” (Id. at p. 14.)

       Defendant Marjorie Conner was Davey Tree’s in-house legal counsel, and Defendant

Christopher Branch was Rangel’s immediate supervisor. (Id. at p. 15.) After receiving Montoya’s

April 2017 written report, Conner and Branch decided not to investigate the report. (Id.) Instead,

they provided the report to Rangel and told Rangel that Montoya was the whistleblower. (Id.)

Rangel confirmed to Branch that, in exchange for money, he provided undocumented workers with

false identifications. (Id.) Branch, in turn, reported this to Conner and other corporate officials at

Davey Tree and Wolf Tree. (Id.) Davey Tree and Wolf Tree, however, did not inform Georgia

Power of these developments and continued funneling money to Rangel to facilitate the scheme.

(Id. at pp. 15–16.)

       Branch, Rangel, and Cruz discussed calling a meeting of all Savannah Call Center

employees, during which Rangel would disclose to the employees Montoya’s report, and the fact

that Montoya was the whistleblower. (Id. at p. 16.) In early May 2017, Rangel and Cruz called

the meeting of around thirty employees, including Montoya. (Id.) During the meeting, Rangel

read the whistleblower report aloud and threatened and intimidated Montoya. (Id.) Many of the

other employees “became enraged, began rioting, and threatened Montoya with violence and

death.” (Id. at pp. 16–17.) After purposefully causing this riot, Rangel told Montoya that “nothing




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was going to come of” Montoya’s whistleblower report. (Id. at p. 17.) Sometime during the

meeting, Branch contacted Cruz for an update on what was happening. (Id.)

       Immediately after the meeting, Montoya reported Rangel’s threatening actions to Davey

Tree and Wolf Tree, but there was no response. (Id.) In mid-May 2017, days after the meeting,

Montoya asked to speak privately with Davey Tree’s Regional Safety Manager and provided the

Safety Manager with a copy of the April 2017 whistleblower report. (Id.) The Safety Manager

was stunned, took notes of the conversation, and reached out to his own supervisor as well as

Branch. (Id. at p. 18.) Branch told the Safety Manager not to take any further action, except to

forward his notes to Conner. (Id.) The Safety Manager abided by Branch’s instructions. (Id.)

       A few days after Montoya’s meeting with the Safety Manager, Cruz overheard Branch,

David Jackson (Branch’s supervisor), and another Davey Tree and Wolf Tree corporate officer

discussing how to construct a “paper trail” that would facilitate the quiet removal of Montoya.

(Id.) A corporate officer then directed Cruz to cite Montoya with an “unsatisfactory work”

employee violation notice, which Cruz did. (Id.)

       In the summer of 2017, Montoya was informed that Conner would address his

whistleblower complaints. (Id. at p. 19.) Conner and Branch falsely assured Montoya that his

complaints were being investigated and taken seriously. (Id.) In July 2017, Conner asked Montoya

to provide proof of the contents of his whistleblower reports, even though Conner already knew

that Rangel had confirmed his criminal activities to Branch and caused a riot against Montoya.

(Id.) Relying on these assurances, Montoya followed the instructions and provided information to

Davey Tree and Wolf Tree rather than reporting to state or federal authorities. (Id. at pp. 19–20.)

       On August 16, 2017, David Jackson suspended Montoya for three days for a fabricated

“safe practice violation.” (Id. at p. 21.) Conner, Branch, Rangel, and Cruz were all aware of this




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fabricated suspension. (Id.) Montoya realized that Conner, Branch, Davey Tree, and Wolf Tree

would not address the criminal conduct and, on that same day (August 16, 2017), he informed

Conner that he was reporting the criminal conduct to the United States Equal Employment

Opportunity Commission (“EEOC”). (Id.) Conner made sure Rangel knew of Montoya’s efforts

to report criminal activities to federal authorities. (Id.)

        On Thursday, August 17, 2017, Montoya provided a written report of the criminal activities

to the EEOC. (Id. at p. 22.) On Friday, August 18, 2017, Rangel and Cruz informed the Savannah

Call Center employees that work for the next day, Saturday, August 19, 2017, was cancelled—

even though the Savannah Call Center “always” operated on Saturdays. (Id.)

        On Saturday, August 19, 2017, Montoya was murdered. (Id.) Rangel planned the murder

and enlisted Juan Rangel, his brother and coworker at the Savannah Call Center, as the “trigger

man.” (Id.) The two were driven to Montoya’s neighborhood by Higinio Perez-Bravo, who was

not employed by Wolf Tree or Davey Tree. (Id.) Rangel paid Perez-Bravo thousands of dollars

for this service. (Id.) Montoya was then shot and killed. (Id.)

        In the ensuing investigation, Conner falsely told police that she had determined that

Montoya’s complaints “lacked credibility.” (Id. at p. 23.) Additionally, in a February 2018

interview, Conner testified under oath that her investigation of Montoya’s complaints was ongoing

at the time of his murder, even though she had ended her investigation before the murder. (Id.)

Cruz also falsely testified in a February 2018 deposition that he did not know that any Savannah

Call Center employees were working illegally. (Id. at pp. 23–24.)

        In December 2018, Cruz pleaded guilty to a four-year conspiracy to conceal, harbor, and

shield illegal aliens in violation of 8 U.S.C § 1324(a)(1)(A)(v)(I). (Id. at p. 24.) In March 2022,




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Rangel pleaded guilty to several crimes related to the undocumented workers scheme and

Montoya’s murder. (Id.)

    II.      Procedural Background

          On July 3, 2018, Plaintiff Brian Huffman, as administrator of Montoya’s estate, sued

Defendants Davey Tree, Wolf Tree, Conner, Branch, Cruz, and Rangel in the State Court of

Chatham County, Georgia, alleging violations of Georgia civil Racketeer Influenced and Corrupt

Organizations (“RICO”) statutes, O.C.G.A. § 16-14-4(a–c), as well as claims of battery, assault,

and negligence. (Doc. 1-2.) Davey Tree and Wolf Tree, joined by Conner, Branch, and Cruz,

subsequently removed the case to this Court. 3 (Doc. 1.) The purported basis for removal was that

Plaintiff’s civil RICO claims implicated significant federal issues in that they alleged that

Defendants engaged in various violations of federal law, including mail fraud in violation of 18

U.S.C. § 1341; wire fraud in violation of 18 U.S.C. § 1343; money laundering in violation of 18

U.S.C. § 1956; and the use of false identification documents to verify employment in violation of

18 U.S.C. § 1546. (Doc. 1, pp. 2–3 (citing doc. 1-2, pp. 16–18).)

          In July 2023, Plaintiff filed an Amended Complaint that brought twenty-two counts against

Defendants. (Doc. 123.) Three counts assert claims against all Defendants under Georgia civil

RICO statutes: Count I alleges Defendants violated O.C.G.A. § 16-14-4(b) by participating in an

enterprise through a pattern of racketeering activity; Count II alleges Defendants violated

O.C.G.A. § 16-14-4(a) by maintaining control of an enterprise or property through a pattern of

racketeering activity; and Count III alleges Defendants violated O.C.G.A. § 16-14-4(c) by

conspiring or endeavoring to violate the provisions of §§ 16-14-4(a–b). 4 (Id. at pp. 25–44.) The


3
  Although defendant Rangel did not join in the removal, the participating parties provided a copy of
Rangel’s signed consent to removal of the action to this Court. (Doc. 1, p. 2; doc. 1–10.)
4
  The Amended Complaint’s headings for Counts I and III both reference Chapter 4 of O.C.G.A. Title 16,
with Count I listing § 16-4-4(b) and Count III listing § 16-4-4(c). (Doc. 123, pp. 25, 42.) However, it is


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next sixteen counts allege an assortment of tort claims against various Defendants: battery against

all Defendants (Count IV); assault against all Defendants (Count V); negligence against Conner

(Count VI); respondeat superior against Davey Tree based on Conner’s conduct (Count VII);

negligence against Branch (Count VIII); respondeat superior against Wolf Tree based on Branch’s

conduct (Count IX); negligent hiring and retention against Davey Tree and Wolf Tree (Count X);

intentional infliction of emotional distress against Rangel (Count XI); respondeat superior against

Davey Tree and Wolf Tree based on Rangel’s conduct (Count XII); intentional infliction of

emotional distress against Cruz (Count XIII); respondeat superior against Davey Tree and Wolf

Tree based on Cruz’s conduct (Count XIV); intentional infliction of emotional distress against

Branch (Count XV); respondeat superior against Davey Tree and Wolf Tree based on Branch’s

conduct (Count XVI); intentional infliction of emotional distress against Conner (Count XVII);

respondeat superior against Davey Tree and Wolf Tree based on Conner’s conduct (Count XVIII);

and intentional infliction of emotional distress against Davey Tree (Count XIX). (Id. at pp. 45–

58.) The final three counts are a survival claim (Count XX); a claim for attorneys’ fees (Count

XXI); and a claim for punitive damages (Count XXII). (Id. at pp. 58–60.)

        In August 2023, all Defendants other than Rangel moved to dismiss the RICO claims for

failure to state a claim and, in turn, to dismiss all state-law claims for the resulting lack of subject

matter jurisdiction. (See docs. 141, 142, 144 & 151.) Then, in September 2023, Davey Tree and

Wolf Tree moved for partial summary judgment on the negligence claims against them, (doc. 161),

and Conner moved for partial summary judgment on all non-RICO claims against her, (doc. 163).

The Court deferred judgment on these partial summary judgment motions pending the resolution

of Defendants’ preceding motions to dismiss the RICO claims, anticipating that such dismissal


clear from the substance of these counts that Plaintiff intends to assert violations of Chapter 14: Count I is
for violations of § 16-14-4(b), and Count III for § 16-14-4(c). (Id.)


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may divest the Court of federal question jurisdiction and render moot the summary judgment

motions. (Doc. 189.)

       In considering these motions, however, it became apparent that Plaintiff had not complied

with Local Rule 9.1 because he had not completed and filed the Court’s form “RICO statement”

summarizing the basis of his claims. (See doc. 193, p. 2 (citing S.D. Ga. L.R. 9.1).) Accordingly,

in March 2024, the Court denied Defendants’ motions to dismiss without prejudice, (docs. 141,

142, 144 & 151), and ordered Plaintiff to comply with Local Rule 9.1. (Doc. 193, p. 3.)

       Plaintiff then filed a 108-page RICO statement, (doc. 196), and, in June 2024, all

Defendants except Rangel filed new motions to dismiss Plaintiff’s Amended Complaint, (docs.

204, 207, 208 & 209), along with a joint motion for oral argument on the matter, (doc. 210). Thus,

the following motions are pending before the Court: Conner’s Motion to Dismiss, (doc. 204);

Branch’s Motion to Dismiss, (doc. 207); Cruz’s Motion to Dismiss, (doc. 208); Davey Tree and

Wolf Tree’s Motion to Dismiss, (doc. 209); and the moving Defendants’ joint motion for oral

argument as to each of these motions, (doc. 210). Also before the Court are Davey Tree, Wolf

Tree, and Conner’s still-remaining motions for partial summary judgment on all the non-RICO

claims asserted directly against them. (Docs. 161, 163).

                                   STANDARD OF REVIEW

       “To survive a motion to dismiss, a complaint must . . . state a claim to relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotations omitted). A claim

is facially plausible “when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. When evaluating

a Rule 12(b)(6) motion to dismiss for failure to state a claim, a court must “accept[] the allegations

in the complaint as true and constru[e] them in the light most favorable to the plaintiff.” Belanger




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v. Salvation Army, 556 F.3d 1153, 1155 (11th Cir. 2009). However, this tenet “is inapplicable to

legal conclusions. Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Ashcroft, 556 U.S. at 678. Rather, “[a] complaint must

state a facially plausible claim for relief, and ‘[a] claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.’” Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d

1211, 1215 (11th Cir. 2012) (quoting Ashcroft, 556 U.S. at 678).

        The plausibility standard is “not akin to a probability requirement, but it asks for more than

a sheer possibility that a defendant has acted unlawfully. Where a complaint pleads facts that are

merely consistent with a defendant’s liability, it stops short of the line between possibility and

plausibility of entitlement to relief.” Ashcroft, 556 U.S. at 678 (internal quotation marks and

citation omitted). Dismissal under Rule 12(b)(6) is also permitted “when, on the basis of a

dispositive issue of law, no construction of the factual allegations will support the cause of action.”

Marshall Cnty. Bd. of Educ. v. Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993);

see also Neitzke v. Williams, 490 U.S. 319, 326–27 (1989) (explaining that Rule 12 allows a court

“to dismiss a claim on the basis of a dispositive issue of law”).

        “Civil RICO claims, which are essentially a certain breed of fraud claims, must be pled

with an increased level of specificity.” Ambrosia Coal & Const. Co. v. Pages Morales, 482 F.3d

1309, 1316 (11th Cir. 2007). 5 Thus, “RICO allegations must comply not only with the plausibility

criteria articulated in Twombly and Iqbal but also with [Rule] 9(b)’s heightened pleading

standard.” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1291 (11th Cir. 2010)



5
  Federal Rule of Civil Procedure 9(b) provides that “[i]n alleging fraud or mistake, a party must state with
particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b).



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                                               DISCUSSION

I.         Plaintiff’s Georgia RICO Claims

           Defendants 6 move to dismiss Plaintiff’s Georgia RICO claims (Counts I–III) because the

Amended Complaint fails to plead that Defendants’ alleged RICO violations proximately caused

Plaintiff’s injury.

           Georgia’s RICO statute makes it unlawful for any person, “through a pattern of

racketeering activity or proceeds derived therefrom, to acquire or maintain, directly or indirectly,

any interest in or control of any enterprise, real property, or personal property of any nature,

including money.” O.C.G.A. § 16-14-4(a). 7 It is also unlawful for any person to conspire to

violate subsection (a). O.C.G.A. § 16-14-4(c). 8

           A.      RICO Standing and Causation

           To have standing to bring a civil claim under the statute, a plaintiff must show that an

alleged RICO violation—particularly, one of the “predicate acts” enumerated in O.C.G.A. § 16-

14-3(5) 9—was both the cause-in-fact and the proximate cause of their injury. Holmes v. Sec. Inv.



6
 For the remainder of this Order, “Defendants” refers only to the Defendants that have moved to dismiss,
which is every Defendant except Rangel. (See docs. 204, 207, 208 & 209.)
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  Under O.C.G.A. § 16-14-3(5)(A), “racketeering activity” means “to commit, to attempt to commit, or to
solicit, coerce, or to intimidate another person to commit any crime which is chargeable by indictment
under the laws of” Georgia, including: O.C.G.A. § 16-5-1 (homicide); § 16-11-37 (terroristic threats); § 16-
8-3 (theft by deception); § 16-10-70 (perjury); § 16-10-93 (influencing witnesses); § 16-10-32 (threatening
witnesses); § 16-9-121 (identity fraud); and § 16-10-20 (false statements). See O.C.G.A. §§ 16-14-
3(5)(A)(iv), (xxx), (xii), (xxv), (xxvii), (xxiv), (xx), (xxii).
8
  “The Georgia RICO provisions are modeled after the federal provisions, and the same analysis is generally
applied to both.” Simpson v. Sanderson Farms, Inc., No. 7:12-CV-28 (HL), 2012 WL 4049435, at *1 n.3
(M.D. Ga. Sept. 13, 2012) (citation omitted); see also Maddox v. S. Eng’g Co., 500 S.E.2d 591, 594 (Ga.
Ct. App. 1998) (citations and internal marks omitted) (“[B]ecause the state RICO act is modeled upon and
closely analogous to the federal RICO statute, [the Court] look[s] to federal authority[.]”).
9
     See predicate acts enumerated supra note 6.



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Prot. Corp., 503 U.S. 258, 266–68 (1992). Though Plaintiff correctly points out that he need not

show “each and every” alleged RICO violation proximately caused the injury, 10 the standing

threshold requires a plaintiff to demonstrate “a direct nexus between at least one of the predicate

acts listed under the RICO Act and the injury [the plaintiff] purportedly sustained.” Rosen v.

Protective Life Ins. Co., 817 F. Supp. 2d 1357, 1381 (N.D. Ga. 2011), aff’d sub nom. Rosen v.

Am. Guarantee & Liab. Ins. Co., 503 F. App’x 768 (11th Cir. 2013) (internal quotation omitted).

“To establish this nexus, the plaintiff must show that one of the predicate acts directly harmed

[him], not a third party,” and that his “injury flowed directly from the predicate acts targeted at

[him], not merely that [his] injury was an eventual consequence of the [acts] or that [he] would not

have been injured but for the [acts].” Smith v. Morris, Manning & Martin, LLP, 666 S.E.2d 683,

695–96 (Ga. Ct. App. 2008) (internal quotation omitted); see also Anza v. Ideal Steep Supply

Corp., 547 U.S. 451, 461 (2006) (“When a court evaluates a RICO claim for proximate causation,

the central question it must ask is whether the alleged violation led directly to the plaintiff’s

injuries.”). That is, “to survive a motion to dismiss, a plaintiff asserting a RICO claim must allege

more than that an act of racketeering occurred and that [he] was injured. Rather, [he] must show

that [his] injury was the direct result of a predicate act targeted toward [him], such that [he] was

the intended victim.” Wylie v. Denton, 746 S.E.2d 689, 694 (Ga. Ct. App. 2013) (citation omitted).

        Plaintiff alleges Montoya suffered injuries because of the Defendants’ predicate acts.

Specifically, Plaintiff alleges that, “[i]n addition to the injuries and damages suffered as the result

of his murder, Montoya suffered injuries and damages caused by the threats of death and serious




10
   See doc. 220, pp. 11–12 (“[T]here is no requirement that plaintiff suffer direct harm from each and every
alleged predicate act introduced to show a pattern of racketeering activity.” (citing InterAgency, Inc. v.
Danco Fin. Corp., 417 S.E.2d 46, 53 (Ga. Ct. App. 1992))).



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bodily injury, . . . and the attempts to influence and retaliate against him through intimidation,

threats, misleading conduct and economic harms . . .” (Doc. 123, pp. 37–38.)

        To begin with, there are two alleged categories of “predicate acts” the Court can quickly

dispose of for the sake of its standing analysis. First, the requirement that the predicate act

specifically targeted Montoya prevents Plaintiff from relying on Defendants’ scheme to hire

undocumented workers and/or to defraud Georgia Power as the underlying predicate act. “A RICO

plaintiff ‘can only recover for injuries incurred as a result of predicate acts directed towards [him],

as opposed to predicate acts directed towards third parties.’” Lockhart v. Columbian Chems. Co.,

No. 1:07-CV-0669-BBM, 2007 WL 9706424, at *3 (N.D. Ga. Aug. 31, 2007) (quoting Am. Gen.

Life & Accident Ins. Co. v. Ward, 509 F. Supp. 2d 1324, 1331 (N.D. Ga. 2007)). When persons

or entities are accused of defrauding the government or other third parties, those defrauded victims

are the appropriate RICO plaintiffs. See Anza, 547 U.S. at 460 (“[The civil RICO plaintiff] accuses

the [defendant] of defrauding the State of New York out of a substantial amount of money. If the

allegations are true, the State can be expected to pursue appropriate remedies . . . . There is no need

to broaden the universe of actionable harms to permit RICO suits by parties who have been injured

only indirectly.”) 11 Plaintiff here does not allege that Montoya was the target or direct victim of

the illegal-employment scheme.         The harmed parties, rather, would be the United States

Government and Georgia Power, not Montoya himself. Accordingly, predicate acts related to the

scheme to hire undocumented workers or defraud Georgia Power must be set aside for purposes

of proximate causation.



11
   Georgia’s civil RICO statute includes the same “by reason of” language from which the federal RICO
direct-nexus standing requirement derives, “[t]herefore, Georgia RICO cases [also] require some direct
relation between the alleged injury and the prohibited conduct.” KJ’s Gen. Contractors, Inc. v. J.E. Dunn
Constr. Co., No. CV414–181, 2015 WL 5680379, at *4 (S.D. Ga. Sept. 25, 2015); see O.C.G.A. § 16-14-
6(c).


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       Second, the Court’s proximate cause analysis must also set aside any alleged predicate acts

that took place after Montoya’s death. Plaintiff alleges that Conner and Cruz made false statements

and committed perjury following the murder. (Doc. 123, pp. 23–24, 27, 35–36.) In the civil RICO

context, however, a “plaintiff destroys standing by pleading predicate acts which occur after the

injury.” Testone v. Niagara Mohawk Power Corp., No. 91–CV–1042, 1992 WL 72145, at *10

(N.D.N.Y. Mar. 26, 1992). That is, a later predicate act cannot be the direct cause of an injury

that has already occurred.

       The Court is left with three categories of RICO predicate acts which Plaintiff contends

share a direct nexus with Montoya’s injuries: (1) the events of the May 2017 meeting; (2)

Defendants’ continued efforts to silence Montoya after the riot; and (3) the events surrounding

Montoya’s murder. (Doc. 221, pp. 14–19; doc. 222, pp. 13–18; doc. 220, pp. 13–20; doc. 223, pp.

13–16.) The Court will address each category in reverse order.

               (1)     Events Surrounding Montoya’s Murder

       Plaintiff argues that Montoya’s murder offers a direct nexus between an alleged predicate

act by Defendants and the injury suffered by Plaintiff. (Doc. 221, pp. 18–19; doc. 222, pp. 12–18;

doc. 223, pp. 12–17; doc. 220, pp. 13–20.) Though Plaintiff concedes that none of the moving

Defendants actually murdered Montoya, he maintains that they “solicit[ed] the violent retaliation”

against him. (Doc. 220, p. 19; doc. 221, p. 18; doc. 222, p. 17; doc. 223, pp. 16–17.) However,

Plaintiff’s factual allegations fail to establish the predicate act of solicitation at all—let alone the

proximate cause required for standing.

       In Georgia, a person commits solicitation “when, with intent that another person engage in

conduct constituting a felony, he solicits, requests, commands, importunes, or otherwise attempts

to cause the other person to engage in such conduct.” O.C.G.A. § 16-4-7(a). “[O]nly a relatively




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overt statement or request intended to bring about action on the part of another person will bring a

defendant within the [solicitation] statute.” State v. Davis, 272 S.E.2d 721, 722 (Ga. 1980). The

Amended Complaint fails to allege any specific facts suggesting any of the Defendants made such

an “overt statement or request” to another person asking for the murder of Montoya. (See generally

doc. 123.) Rather, Plaintiff acknowledges that it was Rangel who “planned the murder and enlisted

his brother . . . as the trigger man.” (Doc. 220, p. 10; doc. 223, p. 10; doc. 222, p. 10; doc. 221, p.

10.) The only allegations of acts of solicitation by the moving Defendants are threadbare

recitations that they “solicit[ed] the violent retaliation against a federal witness, in violation of 18

U.S.C. § 1513.” (Doc. 220, p. 19; see also doc. 123, p. 22 (“Conner intended to solicit the

obstruction of a federal investigation through violent means”); id. at p. 35 (“Conner and Branch .

. . solicited retaliation against a federal witness.”) These allegations are wholly conclusory and,

therefore, are insufficient to state a solicitation claim against Defendants. See Ashcroft, 556 U.S.

at 678 (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”) Because Plaintiff has failed to allege that any of the moving

Defendants committed a predicate act in relation to Montoya’s murder, the events surrounding the

murder cannot confer standing for Plaintiff’s RICO claims against them.

               (2)     Defendants’ Continued Efforts to Silence Montoya

       “Defendants’ continued efforts to silence Montoya” likewise fail to establish the proximate

cause needed for standing. Plaintiff argues that the June 1, 2017, employee violation notice and

the August 16, 2017, safe-practice violation suspension amount to retaliation against Montoya by

“all Defendants” in their continued efforts to silence Montoya’s exposure of Defendants’ scheme.

(Doc. 221, pp. 16–18; doc. 220, pp 15–18; doc. 222, pp. 15–17; doc. 223, pp. 15–16.) Rather than

the murder, the alleged injury here is that Montoya suffered—while still alive—from receiving




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this intimidation and threatened economic harm. (See id.; see also doc. 123, pp. 37–38.) However,

the alleged predicate acts associated with these injuries are essentially allegations of employment

retaliation, and the Eleventh Circuit Court of Appeals routinely dismisses civil RICO claims where

the plaintiff’s purported injury is employment-related retaliation for reporting alleged racketeering

activity.

        For example, in O’Malley v. O’Neill, 887 F.2d 1557 (11th Cir. 1989), the plaintiff asserted

RICO claims based on predicate acts of mail fraud. Id. at 1561. Their complaint, however,

“allege[d] that their injury arose as a result of their refusal to participate in or to conceal the

fraudulent scheme.” Id. The Eleventh Circuit accordingly found that, “by their own allegations,

the proximate cause of the plaintiffs’ injuries was [the defendant’s] decision to fire them for

refusing to participate in or to conceal the scheme—not the mail fraud scheme itself.” Id. (citations

omitted). The Eleventh Circuit explained that, though it “may well [have been] true that the

commission of the predicate acts constituted the ‘but for’ cause of the firings,” such a “tenuous []

relation between the harm and the predicate acts [was] not sufficient to confer standing.” Id. This

is because “RICO does not provide a remedy for every injury that may be traced to a predicate

act,” but instead requires that the act proximately cause the plaintiff’s injury. Id. (citations

omitted). The injury in O’Malley was proximately caused “not [by] . . . the RICO violation, but

rather [by] the tangentially related decision to fire [the plaintiffs].” Id. at 1563; see also Parker v.

Diverse Staffing Georgia, Inc., No. 1:20-cv-01913-TWT-RGV, 2020 WL 10575029, at *10 (N.D.

Ga. Dec. 23, 2020) (quoting O’Malley, 887 F.2d at 1563), report and recommendation adopted,

2021 WL 3367263, at *1 (N.D. Ga. Jan. 12, 2021); Anderson v. Brown Indus., No. 4:11–CV–

00225–HLM–WEJ, 2012 WL 12860887, at *8–9 (N.D. Ga. June 13, 2012) (“[T]o the extent that

[the p]laintiff alleges an injury under RICO because his superiors terminated him for opposing




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their RICO violations, . . . he lacks standing. Similarly, the ‘harassment’ and ‘discrimination’ that

Plaintiff alleges he suffered at the hands of his subordinates and superiors as a result of his

opposition to [the] alleged RICO violations are insufficient to confer standing.”). 12

        Plaintiff’s allegations of “Defendants’ continued efforts to silence Montoya” through

pretextual employment violations likewise fail to confer standing. The alleged predicate act is

Defendants’ scheme to employ undocumented workers. Plaintiff accordingly must show that this

RICO violation—not a separate act of employment retaliation—proximately caused his injuries.

To be sure, as in O’Malley, the undocumented-workers scheme might be a “‘but for’ cause” of

Plaintiff’s injuries given that Montoya’s threatened exposure of the scheme is what allegedly

prompted Defendants’ retaliatory conduct. See O’Malley, 887 F.2d at 1561. This connection,

however, is too tenuous for proximate cause. Id. Rather than Defendants’ RICO violation itself,

the proximate cause of Plaintiff’s injury was Defendants’ “tangentially related decision” to

retaliate by fabricating employment violations. Id. Defendants’ efforts to silence Montoya

therefore do not provide standing for Plaintiff’s claims.

                (3)      The May 2017 Meeting

        Plaintiff also alleges a separate set of injuries related to the May 2017 meeting. (Doc. 123,

pp. 16–17, 37–38.) Specifically, Plaintiff alleges that during the meeting, “Montoya suffered




12
   Other circuits have also concluded that the proximate cause needed for RICO standing is not present
when the alleged injury is a defendant-employer’s retaliation against a plaintiff-employee for the plaintiff’s
opposition to the defendant’s unlawful practices. See Burdick v. Am. Express Co., 865 F.2d 527, 529 (2d
Cir. 1989) (per curiam) (no standing for a stockbroker who alleged being fired and losing his client base
for complaining about his employer’s questionable practices); see also Cullom v. Hibernia Nat’l Bank, 859
F.2d 1211, 1216 (5th Cir. 1988) (no standing for employee constructively discharged for refusing to
participate in fraudulent loan transactions); Pujol v. Shearson/Am. Express, Inc., 829 F.2d 1201, 1204–05
(1st Cir. 1987) (no standing for whistle-blowing employee constructively discharged for reporting
fraudulent securities transactions); Nodine v. Textron, Inc., 819 F.2d 347, 348–49 (1st Cir. 1987) (no
standing for employee fired for registering objections to employer’s customs law violations).



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injuries and damages caused by the threats of death and serious bodily injury . . . and the attempts

to influence and retaliate against him through intimidation threats [and] misleading conduct . . .”

(Id. at pp. 37–38.) Notwithstanding the previously discussed lack of proximate cause as to

Montoya’s death and workplace discipline, the relevant question here is whether Montoya suffered

harm as a direct result of distinct predicate acts associated with the May 2017 meeting.

        Plaintiff alleges that “Defendants devoted their efforts to silencing Montoya,” and “Branch,

Conner[,] and other Wolf Tree and Davey Tree corporate officers decided to have Rangel deal

with Montoya directly.” (Id. at p. 16.) This culminated in May 2017 when Rangel and Cruz

“called a meeting . . . [d]uring [which], Rangel read Montoya’s whistleblower report aloud to all

of the employees, stated that Montoya was the whistleblower, and threatened and intimidated

Montoya.” (Id.) As a result, “many of the . . . employees became enraged, began rioting, and

threatened Montoya with physical violence and death.” (Id. at pp. 16–17.)

        These events, according to Plaintiff, represent a distinct set of injuries that were

proximately caused by various RICO predicate acts. (Id. at pp. 37–38.) First, Defendants’

predicate act of unlawfully employing workers allegedly caused Plaintiff to suffer injury during

the meeting because the meeting was part of “Defendants’ continued effort[] to silence” Montoya’s

opposition to that scheme. (See doc. 220, p. 15.) Second, Plaintiff asserts that, in conducting the

meeting, Defendants injured Montoya through the predicate acts of “influencing a witness,”

(O.C.G.A. § 16-10-93), and making “terroristic threats,” (O.C.G.A. § 16-11-37). 13 (Doc. 123, p.



13
   O.C.G.A. § 16-10-93(b)(1)(C) (“influencing a witness”) makes it unlawful for a person to “knowingly
[] use intimidation, physical force, or threats . . . with intent to . . . [h]inder, delay, or prevent the
communication to a law enforcement officer . . . of information relating to the commission or possible
commission of a criminal offense.” O.C.G.A. § 16-11-37(b)(1) (“terroristic threats”) is violated when a
plaintiff shows “(a) that the defendant threatened to commit a crime of violence against the victim, and (b)
that the defendant did so with the purpose of terrorizing the victim.” State v. Stubbs, 879 S.E.2d 716, 719
(Ga. Ct. App. 2022) (quoting Clement v. State, 710 S.E.2d 590, 592 (Ga. Ct. App. 2011)).


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33; see also doc. 220, pp. 13–15; doc. 223, pp. 13–15; doc. 221, pp. 14–16; doc. 222, pp. 13–15.)

For many of the same reasons Plaintiff’s other arguments fail, these theories are likewise

insufficient to confer standing.

          To the extent Plaintiff’s argument relies on Defendants’ alleged retaliation against

Montoya for exposing the scheme, the argument fails for the same reasons detailed in Part I.A(2),

above. Actions against an individual for reporting a scheme or refusing to participate in a scheme

are collateral to the scheme itself, rather than a direct result of the scheme. See O’Malley, 887

F.2d at 1562. Accordingly, “the ‘harassment’ . . . that Plaintiff alleges he suffered at the hands of

his subordinates and superiors as a result of his opposition to Defendant[s’] alleged RICO

violations [is] insufficient to confer standing.” Anderson, 2012 WL 12860887, at *8 (citing

O’Malley, 887 F.2d at 1558, 1562). Defendants’ alleged use of the May 2017 meeting to silence

Montoya or retaliate against his reporting on the illegal-alien scheme therefore does not establish

the proximate cause needed for Plaintiff to state a RICO claim.

          The “influencing a witness” and “terroristic threats” arguments fail for the reasons set forth

in Part I.A(1), above: Plaintiff asserts that Defendants perpetrated these predicate acts through

“solicitation,” but he does not allege any facts that adequately support this claim. As with

Montoya’s murder, Plaintiff concedes that Rangel called and facilitated the May 2017 meeting that

caused other, unnamed workers to threaten Montoya. (Doc. 123, p. 33.) Plaintiff accordingly does

not allege that any Defendants personally violated either the “influencing a witness” or the

“terroristic threats” statute. (Id.) He instead asserts that Defendants committed a RICO predicate

act by soliciting Rangel’s violative conduct at the meeting. 14 (Id. (“Rangel’s actions [at the May




14
     Additionally, Plaintiff fails to specify the actual content of the threats allegedly solicited by Defendants.


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2017 meeting] were solicited by Conner, Branch and others.”).) Thus, there are no proper

allegations of solicitation. (See id.)

        Again, while solicitation of a RICO violation can be a sufficient predicate act for standing,

“only a relatively overt statement or request intended to bring about action on the part of another

person will bring a defendant within the [solicitation] statute.” Davis, 272 S.E.2d at 722. The

Amended Complaint fails to allege any “overt statement or request” by any of the Defendants—

let alone any statements related to the May 2017 meeting. (See generally doc. 123.) Without such

allegation, claims that Defendants solicited Rangel to carry out either terroristic threats or the

influencing of a witness cannot be plausible on their face. As with the allegations concerning

Montoya’s murder, Plaintiff’s continued, conclusory allegations that such solicitation occurred are

insufficient. 15 See Ashcroft, 556 U.S. at 678.




15
   This issue with Plaintiff’s Amended Complaint is not specific to the allegations of the May 2017 meeting.
Across the board, “[Plaintiff]’s amended complaint simply tracks the language of the statutes he relies upon,
making the very formulaic recitations that the [] Supreme Court has long deemed insufficient.” Parker,
2020 WL 10575029, at *11 (internal quotations omitted). Plaintiff’s Amended Complaint is replete with
“conclusory allegations, unwarranted deductions of facts [and] legal conclusions masquerading as facts.”
Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002). (See, e.g., doc. 123 (“[E]ach
of the Defendants, aided and abetted by each other, engaged in a systematic effort to silence Montoya,
through physical threats, economic threats, intimidation, retaliation, deception, and eventually murder;”
“The Defendants’ retaliatory efforts against Montoya were intended to hinder, delay, dissuade, and prevent
Montoya from reporting to, providing documents to, or testifying before law enforcement or official
proceedings;” “Defendants and others sought to silence Montoya through threats, retaliation, deception,
and ultimately, murder;” “Rangel’s actions were solicited by Conner, Branch and others;” “Rangel, aided
and abetted by Cruz and Branch, solicited and coerced others to make terroristic threats against Montoya,
in violation of O.C.G.A. § 16-11-37;” “[Defendants] maintained control of the enterprise through [their]
efforts to unlawfully influence Montoya, and by aiding and abetting Rangel’s threats and violent retaliations
against Montoya and others, all in violation of Georgia and federal law;” “The Defendants have conspired
with each other and others to conduct or participate in, directly or indirectly, the Davey-Rangel Enterprise
through a pattern of racketeering activity, in violation of O.C.G.A. §16-14-4(c)(1). Each of the Defendants
have committed overt acts, which include the acts of racketeering identified above, in furtherance of the
conspiracy;” “As part of the conspiracy, Defendants agreed to a common unlawful objective and committed
overt acts, including, but not limited to, acts of racketeering activity in furtherance of the conspiracy.”).)



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        Moreover, as Defendants argue, Plaintiff’s pleading of these predicate acts contains

inherent deficiencies characteristic of a “shotgun pleading.” (Doc. 209, pp. 19–21.) Both the

“influencing a witness” and the “terroristic threats” statutes list the types of prohibited conduct in

individual subsections, but Plaintiff only cites the statutes using their overarching title provisions

in his Amended Complaint. 16 That is, the Amended Complaint does not specify which section of

each statute was violated, and it also does not specify which Defendant committed a given

violation. (Id.) In Plaintiff’s Replies in Opposition to the Motions to Dismiss, Plaintiff specifies

the subsections as O.C.G.A. § 16-10-93(b)(1)(C) and § 16-11-37(b)(1), (doc. 220, pp. 14–15; doc.

222, pp. 14–15; doc. 221, pp. 14–15; doc. 223, pp. 14–15), but his Amended Complaint does not

mention these subsections, (see generally doc. 123). Even Plaintiff’s 108-page RICO statement

never once specifies which subsection of O.C.G.A. § 16-11-37 is at issue, and never specifies the

relevant subsection of O.C.G.A. § 16-10-93 as it relates to the May 2017 meeting. (See generally

doc. 196). The Amended Complaint, in this respect, is indicative of a “shotgun pleading” because

it “fail[s] . . . to give the defendants adequate notice of the claims against them.” Weiland v. Palm

Beach Cty. Sheriff’s Off., 792 F.3d 1313, 1323 (11th Cir. 2015). At any rate, regardless of the

inartful nature of his pleadings, Plaintiff has failed to show that—in connection with the May 2017

meeting—Defendants committed RICO predicate acts that proximately caused his injuries. The

events surrounding the meeting therefore do not confer standing. Accordingly, Counts I and II of

the Amended Complaint are DISMISSED with prejudice as to the moving Defendants. They

remain pending, however, against Defendant Rangel.

        B.      RICO Conspiracy


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   See doc. 123, pp. 28, 33, 34 (asserting violations of only the title provision of the “terroristic threats”
statute, O.C.G.A. § 16-11-37); id. at pp. 28, 34 (asserting violations of only the title provision of the
“influencing a witness” statute, O.C.G.A. § 16-10-93).



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        Plaintiff alleges in Count III of his Amended Complaint that, in addition to the substantive

violations of Georgia’s RICO statute, Defendants also ran afoul of O.C.G.A. § 16-14-4(c) by

conspiring with each other to carry out those violations. (Doc. 123, pp. 42–44.) However, the

Eleventh Circuit has made clear that when underlying RICO claims are substantively deficient and

a plaintiff’s RICO conspiracy claims do not add any new allegations, 17 the conspiracy claims must

be dismissed alongside the substantive ones. See Jackson v. BellSouth Telecomms., 372 F.3d

1250, 1269 (11th Cir. 2004) (“We have already found that the complaint failed to state a

substantive RICO claim, and the RICO conspiracy adds nothing. It simply concludes that the

defendants ‘conspired and confederated’ to commit conduct which in itself does not constitute a

RICO violation.”); see also Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714, 728 (11th Cir. 2021)

(“[The plaintiffs’] conspiracy counts rel[y] on the same threadbare allegations as the substantive

RICO claims. Because those allegations are insufficient to plausibly allege any RICO violation,

the district court also correctly dismissed the [plaintiffs’] conspiracy counts.”) Here, as detailed

above, Plaintiff’s substantive RICO claims are deficient because he has failed to allege the

proximate causation required to confer standing. 18 Accordingly, Count III, containing RICO

conspiracy claims, are DISMISSED with prejudice as to the moving Defendants.


17
    All of Plaintiff’s allegations regarding RICO conspiracy are, indeed, either reincorporated factual
allegations or wholly conclusory recitations of the law. (See, e.g., doc. 123, pp. 42–44; see also id. at pp.
42–43 (“Defendants endeavored to conduct or participate in, directly or indirectly, the Davey-Rangel
Enterprise through a pattern of racketeering activity;” “Each Defendant committed overt acts in furtherance
of the endeavor . . . which acts proximately caused injury to Montoya;” “As part of the conspiracy,
Defendants agreed to a common unlawful objective and committed overt acts, including, but not limited to,
acts of racketeering activity in furtherance of the conspiracy.”).) Such conclusory allegations are
insufficient.
18
   Though Rangel has not moved to dismiss—meaning the RICO claims against him necessarily remain—
the Court has analyzed whether the failure of underlying RICO claims dooms related RICO conspiracy
claims on a Defendant-by-Defendant basis. See Aquino v. Mobis Alabama, LLC, No. 3:22-CV-145-TCB,
2024 WL 2764047, at *29–30 (N.D. Ga. May 28, 2024) (finding the plaintiff adequately alleged a RICO
conspiracy claim as to the defendants against whom the substantive RICO claims were adequately pled, but
also finding that plaintiff failed to allege a RICO conspiracy against the defendants who had insufficient
RICO claims brought against them). That is, because the underlying RICO claims are insufficient as to the


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II.     Plaintiff’s Non-RICO Claims

        In addition to the RICO claims, Plaintiff also alleges several non-RICO claims against

Defendants. (Doc. 123, pp. 45–58). Davey Tree and Wolf Tree argue that, if the Court grants

their motions to dismiss the RICO claims against them, then it should decline to exercise

supplemental jurisdiction over these non-RICO claims. (Doc. 209, p. 31.) In making this

argument, Defendants assert that “[t]he Court may decline to exercise jurisdiction over state-law

claims, where the Court has dismissed all the federal claims over which it has original jurisdiction.”

(Id. (citing McCulloch v. PNC Bank Inc., 298 F.3d 1217, 1227 (11th Cir. 2002)); see also 28

U.S.C. § 1367(c)(3).) While this might be an accurate statement of law, it does not apply here.

Even after dismissing all the RICO claims against the moving Defendants, there are still federal

claims remaining before the Court: Rangel is still a Defendant and has not moved to dismiss

Plaintiff’s Amended Complaint. (See generally doc. 123.) Thus, despite the Court’s dismissal of

the RICO claims against the moving Defendants, other RICO claims nevertheless remain. (See id.

at pp. 25–44 (asserting RICO claims against all Defendants, including Rangel).) None of the

moving Defendants explicitly acknowledged that the RICO claims against Rangel would remain

pending even if the Court granted their Motions to Dismiss, much less did they discuss the impact

of those claims on their argument that, if the Court granted their Motions, there would be no basis

for the Court to exercise original jurisdiction. (See generally docs. 204, 207, 208, 209, 230, 231,

232, 233.) As the Court has not dismissed all the federal claims over which it has original

jurisdiction, Defendants’ jurisdictional arguments on this matter are inapplicable and the Court

rejects their request that it decline to exercise jurisdiction over the state law claims.




moving Defendants, the RICO conspiracy claims against those Defendants also fail because they add no
new allegations.


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        Separately, in their Reply, Davey Tree and Wolf Tree introduce a new argument for

declining to exercise supplemental jurisdiction—comity. (Doc. 233, pp. 22–23.) Defendants

assert that the state court in the parallel proceeding “dismissed the principal negligence, negligent

hiring and retention, and related respondeat superior claims underlying the Complaint,” and argue

that this Court therefore should not “give [Plaintiff] a second-bite [sic] at the apple.” (Id.) Plaintiff

responds that the state court ruling does not raise comity concerns because it hinged on Davey

Tree’s status as the sole remaining Defendant in that case (making the ruling irrelevant here), and

because there remains a negligence claim against Davey Tree in the state court proceedings. (Doc.

236, pp. 9–10.) Additionally, Plaintiff points out that the state court ruling was on a motion for

summary judgment and applied a different standard than the one applicable to the motions to

dismiss that are currently before this Court. (Id. at p. 10.) Neither side cites any caselaw

supporting their arguments. (See docs. 233, 236.)

        Foregoing a more thorough analysis of the state court ruling, the Court is entitled to reject

Defendants’ comity argument for a simpler reason: The Court will not consider new arguments

first made in a reply brief. See Riechmann v. Fla. Dep’t of Corr., 940 F.3d 559, 579 (11th Cir.

2019) (citing Herring v. Sec’y, Dep’t of Corr., 397 F.3d 1338, 1342 (11th Cir. 2005)). Davey Tree

and Wolf Tree’s original argument that this Court lacks subject matter jurisdiction over the

remaining claims relied solely on the notion that all the federal claims would be dismissed. (Doc.

209, p. 31.) Because that is not true (since the RICO claims against Rangel remain), the Court will

not decline to exercise supplemental jurisdiction over Plaintiff’s remaining, non-RICO claims.

        A.      Battery & Assault

        Plaintiff brought claims for battery (Count IV) and assault (Count V) against all

Defendants. (Doc. 123, pp. 45–46.) Plaintiff alleges that Defendants committed battery because




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they “put in place actions to the intimidation and physical injury of [Montoya],” and that

Defendants committed assault because, “through Cruz and Rangel, [they] threatened Montoya with

violence and had the apparent ability to perform said acts.” (Id. at p. 45.)

       Aside from mentioning Cruz in his assault claim, Plaintiff did not make any factual

allegations against any other specific individual Defendant as it relates to the assault or battery

claim. (See id. at pp. 45–46.) There are no allegations that Conner, Branch, or Cruz personally

battered Montoya, nor are there allegations that Conner or Branch personally assaulted Montoya.

(Id.) Plaintiff, moreover, does not allege that the battery and assault claims against Davey Tree or

Wolf Tree are based on vicarious liability. (Id.) Simply put, the Amended Complaint lumps

Defendants together and indiscriminately asserts battery and assault claims against all of them.

This is characteristic of a shotgun pleading. See Barmapov v. Amuial, 986 F.3d 1321, 1325 (11th

Cir. 2021) (complaint that asserts claims against “multiple defendants without specifying which

of the defendants are responsible for which acts or omissions” is a shotgun pleading (quoting

Weiland, 792 F.3d at 1322)). On this deficiency alone, the Court has authority to dismiss the

battery claim against all moving Defendants, and to dismiss the assault claim against all moving

Defendants except Cruz. See Weiland, 792 F.3d at 1320 (district court’s “inherent authority to

control its docket and ensure the prompt resolution of lawsuits” includes the ability to dismiss

complaints on shotgun pleading grounds). Nevertheless, the Court will consider the sufficiency

of the battery and assault claims as to each moving Defendant.

               (1) Battery

       As to Plaintiff’s battery claim, Defendants all argue that the claim should be dismissed

because they never made physical contact with Montoya. (Doc. 204, p. 17; doc. 230, p. 5; doc.

207, p. 17; doc. 231, pp. 10–11; doc. 208, p. 22; doc. 209, pp. 32–33; doc. 233, pp. 24–25.) A




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person commits a battery under Georgia law when he or she either “[i]ntentionally makes physical

contact of an insulting or provoking nature with the person of another,” or “[i]ntentionally causes

physical harm to another.” O.C.G.A. § 16-5-23(a)(1)–(a)(2). Accordingly, claims for battery

under Georgia law require that the defendant make physical contact with the victim. See Lawson

v. Bloodsworth, 722 S.E.2d 358, 359 (Ga. Ct. App. 2012) (“A cause of action for battery will lie

for any unlawful touching . . . .”); see also Sanchez v. Clark, No. CV 308-054, 2008 WL 11419018,

at *4 (S.D. Ga. Nov. 25, 2008) (plaintiff “ha[d] not alleged facts sufficient to state a claim . . . [for]

battery” when she only alleged defendant concealed battery by suppressing investigations and

reporting whistleblowers); Hammett v. Paulding Cnty., No. 4:14-CV-0260-HLM, 2016 WL

7386983, at *16–17 (N.D. Ga. Aug. 1, 2016), aff’d sub nom., 875 F.3d 1036 (11th Cir. 2017)

(where there is “no touching by [the defendant],” the plaintiff “fails to state a claim for battery

against [that defendant]”).

        Here, as to the moving Defendants who are natural persons (Conner, Branch, and Cruz),

Plaintiff has made no allegations that any of them made physical contact with Montoya. (See

generally doc. 123.) The only physical harm Plaintiff mentions in Count IV of the Amended

Complaint are the gunshot wounds suffered by Montoya. (Id. at p. 45.) With no allegations that

Conner, Branch, or Cruz unlawfully touched Montoya, Plaintiff has failed to state a claim for

battery against those Defendants.

        The corporate Defendants, Davey Tree and Wolf Tree, argue that battery and assault

“cannot be committed ‘through’ someone else.” (Doc. 209, p. 33.) Plaintiff, in response, cites

caselaw supporting the proposition that corporate entities can be held civilly liable for the

intentional torts of their employees. (See doc. 220, p. 40.) Specifically, Plaintiff cites Georgia

Messenger Services, Inc. v. Bradley, 715 S.E.2d 699 (Ga. Ct. App. 2011), and Ellison v. Burger




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King Corp., 670 S.E.2d 469 (Ga. Ct. App. 2008). (Doc. 220, p. 40.) In Bradley, the Georgia Court

of Appeals affirmed the denial of a defendant messenger service’s motion for summary judgment

where the messenger service was sued under a theory of respondeat superior after its employee

kicked the plaintiff in the head. Bradley, 715 S.E.2d at 701–03. In Ellison, the Georgia Court of

Appeals reversed the lower court’s grant of summary judgment in the corporate defendant’s favor

“as to . . . respondeat superior for the battery” after an employee allegedly put a customer in a

headlock. Ellison, 670 S.E.2d at 471, 474–77.

        Davey Tree and Wolf Tree contend these cases are inapposite because they address

vicarious liability under a theory of respondeat superior, whereas here, Plaintiff indiscriminately

asserts his battery and assault claims directly against all Defendants with no mention that the

corporate Defendants should be held vicariously liable. (Doc. 233, pp. 24–25; see also doc. 123,

pp. 45–46.) Thus, because the entities themselves did not unlawfully touch Montoya, Davey Tree

and Wolf Tree argue that the battery claim against them must be dismissed. (Doc. 209, pp. 32–

33; doc. 233, pp. 24–25.)

        It is true that Plaintiff’s battery claim fails to plead a vicarious liability or respondeat

superior theory against the corporate Defendants. (See doc. 123, pp. 45–46.) Elsewhere in the

Amended Complaint, however, Plaintiff does plead numerous separate counts of “respondeat

superior” against Davey Tree and Wolf Tree for the conduct of their various employees, including

Rangel and Cruz. (Id. at pp. 47–50, 53–57 (Counts VII, IX, XII, XIV, XVI, and XVIII).) Plaintiff

generally alleges in these counts that Davey Tree and Wolf Tree can be held liable for the

misconduct of their employees—but he fails to specify what employee misconduct should give

rise to this liability. (Id.)




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          Even assuming the imprecise “respondeat superior” counts are based on the misconduct

alleged in Plaintiff’s separate counts for battery against individual employees, the battery claims

against the corporate Defendants still must be dismissed. “[U]nder Georgia law, ‘[t]wo elements

must be present to render a master liable for his servant’s actions under respondeat superior: first,

the servant must be in furtherance of the master’s business; and, second, he must be acting within

the scope of his master’s business.’” Bradley, 715 S.E.2d at 703 (quoting Drury v. Harris Ventures,

Inc., 691 S.E.2d 356, 358 (Ga. Ct. App. 2010)). “If a tortious act is committed not in furtherance

of the employer’s business, but rather for purely personal reasons disconnected from the authorized

business of the master, the master is not liable.” Piedmont Hosp., Inc. v. Palladino, 580 S.E.2d

215, 217 (Ga. 2003) (internal quotations omitted). “In other words, the doctrine of respondeat

superior holds an employer liable for the negligent or intentional torts of its employee when ‘the

tort was done within the scope of the actual transaction of the [employer’s] business for

accomplishing the ends of his employment.’” Prodigies Child Care Mgmt., LLC v. Cotton, 893

S.E.2d 640, 646 (Ga. 2023) (quoting Johnson St. Props., LLC v. Clure, 805 S.E.2d 60, 66 (Ga.

2017)).

          For starters, the gunshots that killed Montoya—the only unlawful touching alleged by

Plaintiff—were fired by Juan Rangel, not Pablo Rangel. (See doc. 123, p. 45 (“repeated gunshots

made by Juan Rangel”).) While Plaintiff alleges a count of respondeat superior against Davey

Tree and Wolf Tree for the conduct of Pablo Rangel, (id. at pp. 53–54), there is no respondeat

superior allegation attempting to hold the corporate Defendants liable for the actions of Juan

Rangel, even though he was also a Savannah Call Center employee, (see generally id.). This alone

distances the corporate Defendants from Plaintiff’s battery claim.




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       Furthermore, even if the Court were to assume without deciding that Plaintiff sufficiently

pled a battery claim against Pablo Rangel, the killing of Montoya could not make the corporate

Defendants vicariously liable through respondeat superior. Montoya’s murder clearly did not take

place “within the scope of the actual transaction of the [employer’s] business.” Cotton, 893 S.E.2d

at 646 (quoting Clure, 805 S.E.2d at 66). Pablo Rangel was not working the day of Montoya’s

killing, nor was he in any way acting in his capacity as the corporate Defendants’ employee. It

also bears noting that using a company vehicle to commit a tort or committing a tort while

commuting to or from work is typically insufficient to impose vicarious liability, and here,

Rangel’s alleged conduct is even further removed from his employer. See Ga. Interlocal Risk

Mgmt. Agency v. Godfrey, 614 S.E.2d 201, 204–05 (Ga. Ct. App. 2005) (police trainee not

operating within scope of employment when he used police car to facilitate crimes because crimes

“did not take place during [his] work shift”); see also Cotton, 893 S.E.2d at 647 (“[R]espondeat

superior generally does not apply when an employee commits a tort during her work commute.”).

Rangel was not using a company vehicle and he was not traveling to or from work (as it was not a

workday). (Doc. 123, p. 22.) The only relation to Rangel’s employment is that his alleged conduct

was for the “purely personal reason” of illegally responding to a conflict that originated in the

workplace. Palladino, 580 S.E.2d at 217. Rangel’s alleged conduct that day was certainly not to

further the “authorized business of the master.” Id. (emphasis added). Plaintiff alleges only that

“Rangel planned the murder.” (Doc. 123, p. 22.) An employee who plans a murder, enlists his

brother as the “trigger man,” pays a non-employee to drive them in a non-company vehicle, on an

off day, to a location off company property, cannot be said to be acting in the scope of his

employment. See Schmidt v. HTG, Inc., 961 P.2d 677, 694–96 (Kan. 1998) (no liability for

defendant employer where former employee assaulted and murdered current employee outside of




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working hours and away from company premises). For purposes of the battery claim, Davey Tree

and Wolf Tree will not be vicariously liable for Rangel’s conduct.

       Because Plaintiff did not allege that any moving individual Defendants unlawfully touched

Montoya, and because Plaintiff has not pled facts sufficient to impose vicarious liability for battery

against the corporate Defendants, Plaintiff’s claims for battery (Count IV) are DISMISSED with

prejudice as to all moving Defendants.

               (2) Assault

       Plaintiff also fails to state a claim of assault against the moving Defendants. (Doc. 123,

pp. 45–46 (Count V).) A person commits the offense of assault under Georgia law when he or she

“attempts to commit a violent injury to the person of another” or “commits an act which places

another in reasonable apprehension of immediately receiving a violent injury.” O.C.G.A. § 16-5-

20(a). “[T]he mere threat to commit a violent injury on a victim, without more, does not constitute

an assault.” Lewis v. State, 560 S.E.2d 73, 75 (Ga. Ct. App. 2002). Rather, assault requires “an

intention to commit an injury, coupled with an apparent ability to do so.” Wallace v. Stringer, 553

S.E.2d 166, 169 (Ga. Ct. App. 2001). The moving Defendants argue that the Amended Complaint

fails to allege in any non-conclusory manner that any of them threatened Montoya or caused him

to apprehend an immediate violent injury. (Doc. 204, pp. 17–18; doc. 230, p. 5; doc. 207, p. 17;

doc. 231, pp. 10–11; doc. 208, pp. 22–23; doc. 209, pp. 32–33; doc. 233, pp. 24–25.)

       Plaintiff specifically alleged that, beginning in May 2017, “Defendants, through Cruz and

Rangel, threatened Montoya with violence and had the apparent ability to perform said acts of

violence.” (Doc. 123, p. 45.) Plaintiff added that, on August 19, 2017, “Defendants, through Juan

Rangel, threatened Montoya with physical injury . . . in the moments leading up to his death. In

making these threats, Juan Rangel possessed the apparent ability to harm Eliud Montoya.” (Id.)




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Plaintiff contends the factual allegations in the Amended Complaint are sufficient to plead assault,

citing to such language as: “Defendants, aided and abetted by each other, engaged in a systematic

effort to silence Montoya, through physical threats, economic threats, intimidation, retaliation,

deception, and eventually murder[,]” and “[m]any of the racketeering acts committed to maintain

control of the enterprise were specifically directed at Montoya [and] intended to cause injury to

him.” (Doc. 220, p. 39 (citing doc. 123, pp. 14, 41).) Notwithstanding the previously discussed

shortcomings of Plaintiff’s battery and assault pleadings, the Court will still consider the

sufficiency of the assault claim as to each moving Defendant.

                       a. Assault Claims against Branch and Conner

       As to Branch and Conner, the Amended Complaint lacks allegations that either ever

threatened Montoya or intended to injure him with the apparent ability to do so. (See doc. 123.)

Plaintiff alleged that it was Rangel and Cruz who called the May 2017 meeting, and that it was

other, unnamed workers who made unspecified threats against Montoya during that meeting. (Id.

at pp. 16–17, 33.) Nevertheless, Plaintiff argues that Conner and Branch committed assault and

battery “through [their] colleagues, Cruz and Rangel,” but offers no law to support a civil claim

for assault or battery based on the actions of a third person. (Doc. 222, p. 21; doc. 223, p. 21

(emphasis added).) An assault claim against a defendant fails where “[n]o evidence shows that

[the victim] ever apprehended a violent injury coming from [that defendant].” Hammett, 2016

WL 7386983, at *16. Here, there are no factual allegations that Montoya ever apprehended a

violent injury from either Branch or Conner. Thus, the assault claims against Branch and Conner

are due to be dismissed.




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                      b. Assault Claim against Cruz

       As to Cruz, Plaintiff specifically alleged that “Cruz . . . threatened Montoya with violence

and had the apparent ability to perform said acts of violence. Said threats began in early May of

2017.” (Doc. 123, p. 45.) Cruz argues that, though Plaintiff specifically identifies him in the

Amended Complaint, “Plaintiff has failed to allege a single specific factual occurrence wherein

Cruz actually threatened Montoya, much less a circumstance where Cruz did so with the intent

and apparent ability to harm Montoya.” (Doc. 208, p. 22.) The Court finds that Cruz is correct.

       Plaintiff responds by echoing his conclusory allegations that Cruz “‘engaged in a

systematic effort to silence Montoya, through physical threats,’” and that Cruz’s alleged

racketeering acts “were specifically directed at Montoya [and] intended to cause him injury.”

(Doc. 221, p. 29 (emphasis omitted) (quoting doc. 123, pp. 14, 37).) For one thing, these

referenced allegations from the Amended Complaint actually refer to “the Defendants”

collectively—not Cruz specifically. (See doc. 123, pp. 14, 37.) Furthermore, the allegation that

is specific to Cruz—that he called the May 2017 meeting—lacks mention that Cruz ever threatened

Montoya. (See id. at pp. 16–17.) Plaintiff only alleges that it was Rangel and other, unnamed

employees who “threatened and intimidated Montoya.” (Id.) There is no indication or allegation

that Cruz was present for any alleged assault that occurred on August 19, 2017, and Plaintiff does

not otherwise allege that Montoya ever apprehended an immediate injury at the hands of Cruz.

(See generally id.) Because Plaintiff has not alleged that Montoya ever apprehended a violent

injury from Cruz, the assault claim against Cruz is insufficient and due to be dismissed. See

Hammett, 2016 WL 7386983, at *16.

                      c. Assault Claims against Davey Tree and Wolf Tree




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          As for the assault claims against Davey Tree and Wolf Tree, the relevant arguments are

largely the same as those addressed in the context of Plaintiff’s battery claims against these

Defendants. That is, Plaintiff argues the corporate Defendants assaulted Montoya “through

employees Cruz and Rangel,” (doc. 220, p. 39), while the corporate Defendants again argue that

“these torts cannot be committed ‘through’ someone else,” (doc. 209, p. 33). In response, Plaintiff

relies on the same respondeat superior argument that he did for his battery claim. (See doc. 220,

p. 40.)

          As with his battery claim, Plaintiff does not mention vicarious liability or respondeat

superior within his claim for assault in the Amended Complaint. (Doc. 123, pp. 45–46 (Count V).)

Again, however, Plaintiff does allege separate counts for “respondeat superior” against the

corporate Defendants for the conduct of the Defendant employees. (Id. at pp. 47–50, 53–57

(Counts VII, IX, XII, XIV, XVI & XVIII).) As it did with the battery claim, the Court will consider

whether Plaintiff has alleged facts sufficient to support an assault claim against the corporate

Defendants based on vicarious liability—notwithstanding the arguable defects in Plaintiff’s

pleadings.

          The assault claim contemplates the events of both May 2017, when the meeting occurred,

and August 19, 2017, the day Montoya was murdered. (See id. at pp. 45–46.) As to the factual

allegations on August 19, 2017, the same respondeat superior analysis that applied to the battery

claim likewise applies to the assault claim. See Discussion Section II.A(1), supra. The May 2017

conduct, however, presents new considerations not previously discussed.

          Plaintiff has alleged that Montoya was assaulted beginning in May 2017 as the recipient of

threats from people who had the apparent ability to harm him. (Doc. 123, pp. 45–46.) The May

2017 meeting, which seemingly occurred during working hours and on the corporate Defendants’




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property, allegedly resulted in unnamed employees becoming enraged, rioting, and threatening

Montoya with physical violence and death. (Id. at pp. 16–17.) At first glance, it might appear that

there is a stronger connection between this employee conduct and the corporate Defendants.

However, there are no respondeat superior allegations in the Amended Complaint that seek to hold

Davey Tree and Wolf Tree vicariously liable for the conduct of any employees except Conner,

Branch, Rangel, and Cruz. (See generally id.) That is, Plaintiff does not seek to hold Davey Tree

or Wolf Tree responsible for the actions of the unnamed employees who allegedly threatened

Montoya with death, nor does Plaintiff bring an assault claim against those employees. (Id.)

Though Plaintiff alleges that Rangel and Cruz called the meeting, there are no factual allegations

that Montoya apprehended injury at their hands. (Id. at pp. 16–17.) Plaintiff alleges in the most

general terms that Rangel “threatened” Montoya, (id.), but again, “the mere threat to commit a

violent injury on a victim, without more, does not constitute an assault,” Lewis, 560 S.E.2d at 75.

That is, even had it been a threat of violent injury, this allegation alone would be insufficient, and

here, Plaintiff alleged even less. Thus, there are no remaining assault allegations for which the

corporate Defendants can be vicarious liability.

        Plaintiff’s assault claim (Count V) is DISMISSED with prejudice as to all moving

Defendants.

        B.      Intentional Infliction of Emotional Distress

        Plaintiff alleged five counts of Intentional Infliction of Emotional Distress, with one count

each against Rangel (Count XI), Cruz (Count XIII), Branch (Count XV), Conner (Count XVII),

and Davey Tree (XIX). 19 (Doc. 123, pp. 52–58.)



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   Plaintiff’s Response insists that Plaintiff “state[d] claims against the Corporate Defendants for IIED”
and that “[t]he Corporate Defendants . . . played a key role [in the actions giving rise to the IIED claims],”
but Plaintiff’s Amended Complaint does not bring an IIED claim against Wolf Tree. (Doc. 220, p. 38; see


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        Georgia has long recognized a cause of action for intentional infliction of emotional
        distress. However, the burden which the plaintiff must meet in order to prevail in
        this cause of action is a stringent one. To prevail, a plaintiff must demonstrate that:
        (1) the conduct giving rise to the claim was intentional or reckless; (2) the conduct
        was extreme and outrageous; (3) the conduct caused emotional distress; and (4) the
        emotional distress was severe. The defendant’s conduct must be so extreme in
        degree, as to go beyond all possible bounds of decency, and to be regarded as
        atrocious, and utterly intolerable in a civilized community. Whether a claim rises
        to the requisite level of outrageousness and egregiousness to sustain a claim for
        intentional infliction of emotional distress is a question of law.

Mayorga v. Benton, 875 S.E.2d 908, 913 (Ga. Ct. App. 2022). A complaint that fails to allege any

form of non-conclusory emotional distress warrants dismissal. See Roberts v. JP Morgan Chase

Bank, Nat’l Ass’n, 802 S.E.2d 880, 885 (Ga. Ct. App. 2017) (“[The plaintiff’s] complaint says

nothing at all about humiliation, embarrassment, fright, extreme outrage, or severe emotional

distress . . . . [F]or this reason, [the plaintiff] fails to state a claim for intentional infliction upon

which relief can be granted.”) (internal quotations omitted); see also Monsrud v. Regnerative

Orthopaedics & Spine Inst., P.C., No. 1:20-CV-1571-AT-WEJ, 2020 WL 12654451, at *10 (N.D.

Ga. Sept. 9, 2020), report & recommendation adopted sub nom., No. 1:20-CV-1571-AT, 2020 WL

12654449 (N.D. Ga. Sept. 29, 2020) (“[The plaintiff] also fails to allege facts showing that she has

suffered extreme emotional distress. She alleges that the work environment ‘led to unnecessary

stress on her pregnancy’ and that she suffered ‘severe emotional distress’ . . . . But, simply alleging

that she was under stress and forced to seek medical care, with no allegation about any resulting

treatment or diagnosis of severe emotional distress, is insufficient . . . .”) (internal citations

omitted).

        The moving Defendants all argue both that Plaintiff failed to allege conduct sufficiently

extreme and outrageous, and that the Amended Complaint is silent as to any actual emotional



generally doc. 123.) With no IIED claim against Wolf Tree in the Amended Complaint, the Court concludes
that Davey Tree is the only corporate Defendant against whom Plaintiff brought an IIED claim.


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distress. (Doc. 204, pp. 23–25; doc. 230, pp. 7–9; doc. 207, pp. 15–17; doc. 231, pp. 9–10; doc.

208, pp. 23–24; doc. 209, pp. 31–32; doc. 233, pp. 23–24.) The Court agrees that Plaintiff has

failed to allege any non-conclusory emotional distress, warranting dismissal of Plaintiff’s IIED

claims against all moving Defendants. 20

        In his response, Plaintiff emphasizes that he alleged that Defendants’ actions “caused

severe emotional distress to Eliud Montoya, up until the point of his murder.” (Doc. 220, p. 38

(citing doc. 123, p. 58); doc. 221, p. 30 (citing doc. 123, p. 54); doc. 222, p. 24 (citing doc. 123, p.

56); doc. 223, p. 21 (citing doc. 123, p. 55).) But such allegations are wholly conclusory, and thus

cannot withstand a motion to dismiss. See Jaharis, 297 F.3d at 1188 (“[C]onclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts will not prevent

dismissal.”). As Davey Tree correctly states,

        Plaintiff has not set forth a single fact concerning emotional distress, let alone
        severe emotional distress . . . . [Plaintiff] does not allege that [Montoya] suffered
        from any particular type of emotional distress (e.g., terror, anxiety), experienced
        any physical manifestations or mental health symptoms (e.g., psychotic break,
        despondency), or that he sought out or obtained any treatment.

(Doc. 209, p. 32.) Indeed, Georgia courts have regularly found far more considerable allegations

of emotional distress insufficient to state an IIED claim. For example, even when plaintiffs alleged

that they sought counseling for their emotional distress, courts have found the “severe emotional

distress” requirement unsatisfied without any accompanying allegation of diagnosis or treatment.

See Monsrud, 2020 WL 12654451, at *10 (even where the plaintiff alleged that she suffered

“severe emotional distress” that “caused her to seek medical care,” the absence of any resulting

treatment or diagnoses rendered the IIED pleading insufficient); see also Ghodrati v. Stearnes, 723


20
   That is, Plaintiff failed to allege the third (and by extension the fourth) element of IIED—that the conduct
caused emotional distress, and that the emotional distress was severe. See Mayorga, 875 S.E.2d at 913.
Because this alone dooms Plaintiff’s IIED claims, the Court need not assess whether each Defendant’s
alleged conduct was sufficiently extreme or outrageous.


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S.E.2d 721, 723–24 (Ga. Ct. App. 2012) (merely seeking counseling, without providing record of

a diagnosis, could not meet plaintiff’s burden of establishing severe emotional distress to avoid

summary judgment). Here, Plaintiff alleges even less.

       Ultimately, “the allegations of the Amended Complaint about the intentional conduct

which caused Plaintiff severe emotional distress are mostly formulaic recitations of the elements

of the IIED claim, which fall short of meeting the relevant pleading standard.” Monsrud, 2020

WL 12654451, at *9; see also Carroll v. Bank of Am., N.A., No. 1:12-CV-02506-RWS, 2013 WL

1320755, at *5 (N.D. Ga. Mar. 28, 2013), aff’d sub nom., 537 F. App’x 933 (11th Cir. 2013) (per

curiam) (dismissing IIED claim where complaint made conclusory statements reciting elements of

cause of action which did not satisfy pleading requirements). Likewise, here, Plaintiff’s IIED

claims against all moving Defendants (Counts XIII, XV, XVII, and XIX) are DISMISSED with

prejudice. With the dismissal of the RICO claims against all moving Defendants (Counts I–III),

the battery and assault claims against all moving Defendants (Counts IV–V), and the intentional

infliction of emotional distress claim against Cruz (Count XIII), no substantive claims against Cruz

remain. Defendant Cruz is DISMISSED from this case.

       C.      Negligence against Conner

       Though Plaintiff brought negligence claims against Conner (Count VI) and Branch (Count

VIII), only Conner moved to dismiss the negligence claim against her. 21 (Doc. 204, pp. 19–23;

see generally doc. 207.) Conner argues that Plaintiff has failed to state a negligence claim against

her because he has not sufficiently pled duty or causation. (Doc. 204, pp. 19–23.) Regarding duty,

Plaintiff’s Amended Complaint asserts two theories: (1) as an officer of Davey Tree and Wolf



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   Defendant Branch indicates he will address the negligence claim against him in a Motion for Summary
Judgment “at the appropriate time.” (Doc. 207, p. 1 n.1.)



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Tree, Conner owed Montoya a duty to provide a safe work environment free of harassment; and

(2) as corporate counsel, Conner had a duty to adequately review and address Montoya’s

whistleblower reports. (Doc. 222, pp. 21–22 (citing doc. 123, p. 46).) Conner, on the other hand,

argues she owed no legal duty to Montoya because she was neither Montoya’s employer nor his

personal counsel. (Doc. 204, pp. 19–23.) After review, the Court agrees with Conner.

       To sustain a claim for negligence, a plaintiff must be able to establish “(1) a legal duty; (2)

a breach of this duty; (3) an injury; and (4) a causal connection between the breach and the injury.”

Persinger v. Step By Step Infant Dev. Ctr., 560 S.E.2d 333, 335 (Ga. Ct. App. 2002) (quoting

Vaughan v. Glymph, 526 S.E.2d 357, 359 (Ga. Ct. App. 1999)). Conner contends Plaintiff has

failed to establish the first and fourth elements. (Doc. 204, pp. 19–23.) Specifically, Conner

contends that she did not owe a duty to Montoya and that “[t]here is no claim that sounds in

ordinary negligence against a lawyer for actions undertaken in the performance of legal duties.”

(Id. at pp. 19, 21.) As to the claim that she failed to provide a safe work environment, Conner

argues such duty applies only to the employer (and that it only requires provision of a work

environment that is physically safe). (Id. at pp. 20–21.)

       Conner is correct in arguing that, as in-house counsel for Davey Tree, any duty to review

Montoya’s allegations would be a duty owed to Davey Tree, not to Montoya. (Id. at pp. 21–22.)

Indeed, “[n]umerous Georgia cases have discussed the element of duty in the context of attorneys’

relationships with nonclients,” and have observed that demonstrating an attorney-client

relationship between the plaintiff and the defendant attorney “is essential in establishing the

element of duty that is necessary to every lawsuit based upon a theory of negligence.” McKenna

Long & Aldridge, LLP v. Keller, 598 S.E.2d 892, 894 (Ga. Ct. App. 2004) (quoting Legacy

Homes, Inc. v. Cole, 421 S.E.2d 127, 128 (Ga. Ct. App. 1992)); see also Driebe v. Cox, 416 S.E.2d




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314, 315 (Ga. Ct. App. 1992) (“Before an action for malpractice or negligence can lie against an

attorney, there must be a legal duty from the attorney to the plaintiff.”). Plaintiff does not allege

that Conner and Montoya were in an attorney-client relationship. (See doc. 123, pp. 46–47.)

Unlike with medical negligence, there is no distinction between “professional negligence” and

“ordinary negligence” when bringing a negligence claim against an attorney. See McKenna, 598

S.E.2d at 894. Absent any allegation that Montoya was Conner’s client, Conner owed no legal

duty to Montoya. See id.; see also Hare Krishna Roswell Hotel, LLC v. Corsino, 892 S.E.2d 785,

788 (Ga. Ct. App. 2023) (“[T]he Supreme Court of Georgia expressly rejected any precedent to

the extent that it created a general legal duty to all the world not to subject others to an unreasonable

risk of harm.”) (internal quotation omitted).

        To be sure, beyond this, Plaintiff seemingly argues that Conner’s alleged violation of

Davey Tree and Wolf Tree’s internal whistleblower policy makes Conner liable for negligence.

(Doc. 222, p. 22 (“Conner breached [her duty to Montoya] when, ‘in flagrant disregard of Davey

Tree and Wolf Tree’s Whistleblower Policy, Conner . . . provided Montoya’s written

whistleblower complaint to Rangel and told Rangel that Montoya was the whistleblower.” (quoting

doc. 123, p. 15)).) However, regardless of Davey Tree’s whistleblower policy, Conner still did

not owe Montoya a duty. Georgia courts “have rejected the idea that a company’s internal policy

and/or procedures manual can give rise to a legal duty owed to third parties.” Corsino, 892 S.E.2d

at 789; see also Sheaffer v. Marriott, 826 S.E.2d 185, 189 (Ga. Ct. App. 2019) (hotel staff did not

owe duty to guests to staff phone lines or front desk despite internal policy); Doe v. HGI Realty,

561 S.E.2d 450, 452 (Ga. Ct. App. 2002) (affirming summary judgment for landlord on grounds

that landlord’s internal security manual stating that guards should patrol stores did not create

affirmative duty to do so). This is because “[a] legal duty sufficient to support liability in




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negligence is either a duty imposed by a valid statutory enactment of the legislature or a duty

imposed by a recognized common law principle declared in the reported decisions of our appellate

courts.” Reg’l Fin. Co. of Ga., LLC v. Pearson, 908 S.E.2d 643, 647 (Ga. Ct. App. 2024) (internal

citations omitted). Because a company’s internal policies are neither, “a private corporation’s

internal policies do not create a duty upon which a tort action may independently lie.” Othman v.

Navicent Health Inc., 908 S.E.2d 223, 229 (Ga. Ct. App. 2024). This appears to hold true even if

the prospective plaintiff works at the company. See id. at 224–230 (finding plaintiff physician

could not rely on hospital’s internal policies to create a duty upon which he could bring a

negligence claim against hospital operators). Accordingly, any alleged violation of company

policy here, without more, cannot state a negligence claim.

       Likewise, Conner did not owe Montoya any duty to provide a safe work environment. The

duty to provide employees a reasonably safe workplace is the duty of the employer. Phelps v.

CSX Transp., Inc., 634 S.E.2d 112, 117 (Ga. Ct. App. 2006) (“The employer has a duty to provide

the employee a reasonably safe workplace which includes safe conditions, tools, facilities, and

supervision.”) (emphasis added). Plaintiff does not allege that Conner was somehow Montoya’s

employer. (See generally doc. 123.) The Court need not assess what allegations (if any) relate to

the physical safety of Montoya’s workplace, because any shortcomings of this sort would only be

relevant to claims against Montoya’s employer, not against Conner.

       The Court need not engage in any causation analysis because Plaintiff’s negligence

allegations against Conner fail at element one—duty. With no factual allegations to establish that

Conner owed a legal duty to Montoya, Plaintiff has failed to state a negligence claim against

Conner. Accordingly, Plaintiff’s negligence claim against Conner (Count VI) is DISMISSED

with prejudice. With the dismissal of the RICO claims against all moving Defendants (Counts




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I–III), the battery and assault claims against all moving Defendants (Counts IV–V), the negligence

claim against Conner (Count VI), and the intentional infliction of emotional distress claim against

Conner (Count XVII), no substantive claims against Conner persist.             Defendant Conner is

DISMISSED from this case.

III.   Motions for Partial Summary Judgment

       Still pending before the Court are Davey Tree and Wolf Tree’s Motion for Partial Summary

Judgment, (doc. 161), and Conner’s Motion for Partial Summary Judgment, (doc. 163). When the

Court deferred ruling on these motions, it noted that, “[i]n the event this case remains in federal

court following the rulings on all pending motions to dismiss, the parties shall propose a summary

judgment briefing schedule in their joint status report.” (Doc. 189, p. 2 (internal citation omitted);

see also doc. 178, p. 8 (“Should any portion of the case remain after resolution of the motions to

dismiss, the parties shall confer and submit a joint status report, with proposed case deadlines,

within seven days of the presiding District Judge’s ruling.”).)

       Because portions of this case remain before this Court, the Court will adhere to its prior

orders. Within SEVEN (7) DAYS of this Order, the parties SHALL CONFER and SUBMIT a

joint status report with proposed case deadlines. Any new motions for summary judgment and

related briefing shall only pertain to claims that remain following this Order. Because Connner is

now dismissed from this action with no remaining claims against her, Conner’s Motion for Partial

Summary Judgment is DENIED as moot. (Doc. 163.) In anticipation of an updated motion from

the Corporate Defendants on the remaining claims, the Court DENIES without prejudice Davey

Tree and Wolf Tree’s pending Motion for Partial Summary Judgment. (Doc. 161.)




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                                         CONCLUSION

       For these reasons, the Court GRANTS Defendants’ Motions to Dismiss. (Docs. 204, 207,

208 & 209.) Plaintiff’s RICO claims (Counts I–III of Plaintiff’s Amended Complaint) are

DISMISSED with prejudice against all moving Defendants for failure to plausibly allege

proximate causation. (Doc. 123.) Plaintiff’s non-RICO claims for battery (Count IV), assault

(Count V), and intentional infliction of emotional distress (Counts XIII, XV, XVII & XIX) are

DISMISSED with prejudice as to all moving Defendants. (Id.) With no claims thereby

remaining against Cruz, Cruz is DISMISSED from this case. Additionally, Plaintiff’s negligence

claim against Conner (Count VI) is also DISMISSED with prejudice for failure to allege that

Conner owed Montoya a duty of care. With no claims thereby remaining against Conner, Conner

is DISMISSED from this case and Conner’s Motion for Partial Summary Judgment is DENIED

as moot. (Doc. 163.) For all remaining claims, the parties SHALL CONFER and SUBMIT a

joint status report with proposed deadlines within SEVEN (7) DAYS of this Order. Davey Tree

and Wolf Tree’s Motion for Partial Summary Judgment is DENIED without prejudice. (Doc.

161.) Defendants’ joint Motion for Oral Argument on these motions, (doc. 210), is DENIED as

moot. 22

       SO ORDERED, this 3rd day of March, 2025.




                                       R. STAN BAKER, CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA




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   The parties have thoroughly briefed the issues before the Court, and the Court concludes that oral
argument would not help resolve Defendants’ motions.


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